
PER CURIAM.
The order sought to be reviewed, one denying the petitioners’ motion to dismiss for lack of prosecution, is not reviewable by certiorari. Arvida Corp. v. Hewitt, 416 So.2d 1264 (Fla. 4th DCA 1982); Bowl America Florida, Inc. v. Schmidt, 386 So.2d 1203 (Fla. 5th DCA 1980); Chalfonte Development Corp. v. Beaudoin, 370 So.2d 58 (Fla. 4th DCA 1979). See also Cluster v. Scott, 474 So.2d 17 (Fla. 4th DCA 1985).
*59The petition for writ of certiorari is denied.
